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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                   CASE NO: 24-CV-22382-RAR

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 VICTOR PASTOR
                Plaintiff,
      v.

 FCA US LLC,
                        Defendant.


                                 JOINT SCHEDULING REPORT

        The Parties submit this Joint Scheduling Report after conducting a telephonic meeting

 regarding a pretrial scheduling order pursuant to S.D. Fla. L.R. 16.1 and 26.1, and report as

 follows:

 (A)    The likelihood of settlement:

        The parties believe there is a good possibility this case will settle prior to trial. Counsel for

        the parties have worked together on multiple cases involving the same alleged product

        defect, and most of those cases have been resolved without prolonged litigation.

 (B)    The likelihood of appearance in the action of additional parties:

        At this juncture, given the facts known to the Parties, the Parties agree that there are no

        other parties anticipated to be added to this action. Depending on expert opinions,

        additional parties may be added.

 (C)    Proposed limits on the time:

        (i)     to join other parties and to amend the pleadings:

                April 10, 2025



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        (ii)        to file and hear motions:

                    August 11, 2025

        (iii)       to complete discovery:

                    July 11, 2025

 (D)    Proposals for the formulation and simplification of issues, including the elimination
 of frivolous claims or defenses, and the number and timing of motions for summary
 judgment or partial summary judgment:

        The parties will work in good faith to eliminate the presence of any frivolous issues.

 (E)    The necessity or desirability of amendments to the pleadings:

        See supra paragraph B and the time limits in paragraph C.

 (F)   The possibility of obtaining admissions of fact and of documents, electronically stored
 information or things which will avoid unnecessary proof, stipulations regarding
 authenticity of documents, electronically stored information or things, and the need for
 advance rulings from the Court on admissibility of evidence:

        The parties will work in good faith to obtain admissions and stipulations that will serve to

        limit the issues in the dispute and reduce the time needed to conduct a trial. The parties

        anticipate electronic discovery and will cooperate in good faith to develop a protocol to

        facilitate any such electronic discovery.

 (G)    Suggestions for the avoidance of unnecessary proof and of cumulative evidence:

        The parties will work in good faith to eliminate unnecessary proof and cumulative evidence

        at trial.

 (H)    Advisability of referring matters to a Magistrate Judge or master:

        The parties agree that discovery matters may be referred to the Magistrate Judge. A

        Consent Form is attached below as Exhibit A.

 (I)    Preliminary estimate of the time required for trial:



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          The parties estimate that 5-7 trial days will be needed.

 (J)      Requested date or dates for conferences before trial, a final pretrial conference, and

 trial:

          The parties request that trial be set in October 2025 and the court set a pretrial conference

          based that trial date.

 (K)      Any issues about:

          (i)     disclosure, discovery, or preservation of electronically stored information,

                  including the form or forms in which it should be produced;

          (ii)    claims of privilege or of protection as trial-preparation materials, including --

                  if the parties agree on a procedure to assert those claims after production --

                  whether to ask the court to include their agreement in an order under Federal

                  Rule of Evidence 502;

          (iii)   when the parties have agreed to use the ESI Checklist available on the Court’s

                  website (www.flsd.uscourts.gov), matters enumerated on the ESI Checklist:

          The parties do not anticipate any issues on these topics.

 (L)      any other information that might be helpful to the Court in setting the case for status

 or pretrial conference.

          The parties do not believe that any other information would be helpful to the Court at this
          time.

          Dated: August 12, 2025
                                                Respectfully Submitted,

                                                /s/ James L. Mitchell
                                                JAMES L. MITCHELL
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